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                                  United States District Court
                                   DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE


 V.

                                                                          Case Number: CR 21-102-BLG-SPW-l
 TIMOTHY JOSEPH HENNEBERRY                                                USM Number: 11527-046
                                                                          Russell Allen Hart
                                                                          Defendant's Allorncy



THE DEFENDANT:
      pleaded guilty to count(s)                         1
      pleaded nolo contcndere to coimt(s) which
 □
      was accepted by the court
      was found guilty on count(s) afler a plea of
 □
      not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                             Offense Ended    Count
 18:751A.F Escape                                                                                09/18/2021       1




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
material changes in economic circumstances.


                                                             June 24, 2022
                                                             Dale of imposition of Judgment




                                                             Signature of Judge

                                                             Susan P. Watters
                                                             United States District Judge_
                                                             Name and Title of Judge

                                                             June 24, 2022
                                                             Date
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